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lN THE UN|TED STATES D|STR|CT COURT
FOR THE WESTERN D|STR|CT OF TENNESSEE
WESTERN D|V|S|ON

 

 

UN|TED STATES OF AMER|CA,
P|aintiff,
Crimina| No. 01-20324-B

V.

DANNY B|NDER, MURW|N BECKER,
LENNY LNU, FOUAD BOUGHA|DAN,

* 31' *‘ 3{' * >¢- l- SI' >f' il-

Defendants

 

ORDER

 

Upon motion of the United States and for good cause shown, it is hereby
ORDERED that the indictment in this case is D|Si\/I|SSED.

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iT is so ORDERED this Z“t day of_[:i¢~_)___ _[:i¢~_)__.zoos

wae\

UNIEL BREEN
UND\ UED STATES DiSTR|CT JUDGE

 

 

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Stuart J. Canaie .\`\@@“:‘\{
Assistant United States Attorney 5<\@@;`1/§'

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UNITED sTATE D"ISIC COURT - WESERNT D'S'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 33 in
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Stuart J. Canale

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Honorable J. Breen
US DISTRICT COURT

